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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 ALFONSO CIOFFI ET AL                   §
                                        §
 v.                                     §    Case No. 2:13-CV-103-JRG
                                        §
 GOOGLE, INC.                           §


                       MINUTES FOR MOTIONS HEARING
              HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                   July 6, 2017
OPEN: 9:05 a.m.                                     ADJOURN: 10:25 a.m.

 ATTORNEYS FOR PLAINTIFF:                     See attached.

 ATTORNEYS FOR DEFENDANT:                     See attached.

 LAW CLERKS:                                  Angela Oliver
                                              Clint South
                                              Matthew Zorn

 COURT REPORTER:                              Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                              Jan Lockhart
 TIME       MINUTES
 9:05 a.m.  Court opened. Counsel announced ready for hearing.
 9:10 a.m.  The Court held the hearing on the Motion Entry of Judgment by Alfonso Cioffi,
            Megan Rozman, Melanie Rozman, Morgan Rozman (Dkt. No. 281) and the SEALED
            PATENT MOTION for Ongoing Royalty by Alfonso Cioffi, Megan Rozman,
            Melanie Rozman, Morgan Rozman (Dkt. No. 277).
            Messrs. Benisek, Snyder and Almeling argued on behalf of the parties.
 10:05 a.m. Courtroom sealed.
 10:19 a.m. Courtroom unsealed.
 10:25 a.m. The Court took the matters under submission. Court adjourned.
